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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division



JUUL LABS,INC.,

                       Plaintiff,



                                                          Civil Action No. l:19-cv-00715



THE UNINCORPORATED ASSOCIATIONS
IDENTIFIED IN SCHEDULE A,

                       Defendants.




                      ORDER GRANTING PLAINTIFF'S EX PARTE MOTION FOR
          TEMPORARY ASSET RESTRAINT AND EXPEDITED DISCOVERY

       This Court, having considered the ex parte Motion by Plaintiff Juul Labs, inc. for a

temporary restraining order including temporary asset restraint and expedited discovery and for

good cause shown, it is hereby

       ORDERED that the Motion shall be, and hereby is. granted; and it is further

       ORDERED that PayPal shall immediately freeze all PayPal accounts associated with

Defendants identified in Schedule A to the Verified Complaint and restrain and enjoin the

transfer of any monies held in such accounts until further ordered by this Court; and it is further

       ORDERED that Plaintiff may immediately serve limited discovery on PayPal sufficient

to discover the amounts of any monies held by PayPal in association with Defendants identified

in Schedule A to the Verified Complaint as well as any name, email address, address, telephone

number, and bank account associated with such PayPal account(s);
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